














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


						




NOS. PD-1640-12, PD-1641-12 and PD-1642-12





TENESIA BAILEY, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIFTH COURT OF APPEALS DALLAS COUNTY




	Per curiam. Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3(b)
and 68.4(i), because the petition is not accompanied by 11 copies and it does not contain a
copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.


Filed: March 6, 2013

Do Not Publish


